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 10

 11                            UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF CALIFORNIA
 12                                 SAN FRANCISCO DIVISION
 13   In re:                                           Bankruptcy Case
                                                       No. 19-30088 (DM)
 14   PG&E CORPORATION
                                                       Chapter 11
 15            -and-                                   (Lead Case)
                                                       (Jointly Administered)
 16   PACIFIC GAS AND ELECTRIC
      COMPANY,                                         THE FIRE VICTIM TRUSTEE’S
 17                       Debtors.                     APPLICATION FOR CLARIFICATION
                                                       AND MODIFICATION OF
 18   □ Affects PG&E Corporation                       PROTECTIVE ORDER TO PERMIT
                                                       THE TRANSFER OF INFORMATION
 19   □ Affects Pacific Gas and Electric Company       FOR USE BY THE FIRE VICTIM
                                                       TRUST
 20   ■ Affects both Debtors
                                                       Hearing
 21   *All papers shall be filed in the Lead Case,     Date:        August 25, 2020
      No. 19-30088 (DM)                                Time:        10:00 a.m. (Pacific Time)
 22                                                    Place:       Courtroom 17
                                                                    450 Golden Gate Ave., 16th Fl.
 23                                                                 San Francisco, CA 94102
 24

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Case: 19-30088         Doc# 8492   Filed: 07/22/20   Entered: 07/22/20 17:12:17    Page 1 of
                                               34
  1          Justice John K. Trotter (Ret.) in his capacity as trustee for the Fire Victim Trust (as
  2   defined below) (the “Fire Victim Trustee”), respectfully submits this application (“Motion”),
  3   pursuant to section 105(a) of title 11 of the United States Code and Rules 2002(m) and 9007 of
  4   the Federal Rules of Bankruptcy Procedure, for entry of an order in the form of Exhibit A (the
  5   “Proposed Order”), which would direct the clarification or modification of certain provisions of
  6   the Confidentiality and Protective Order (the “Protective Order”) [Dkt. No. 3405] to permit the
  7   Fire Victim Trustee and his staff, consultants, experts, and counsel and Cathy Yanni in her
  8   capacity as Claims Administrator of the Fire Victim Trust (the “Claims Administrator”) and her
  9   staff, consultants, experts, and counsel1 to access and use information produced and generated in
 10   the Cases (the “Discovery Material”)2 in connection with the administration of the trust
 11   established for the fire victims (the “Fire Victim Trust”) and the prosecution of the causes of
 12   action assigned to the Fire Victim Trust (the “Assigned Claims”) pursuant to the Court-approved
 13   and effective Plan of Reorganization dated June 19, 2020, (the “Plan” and the “Confirmation
 14   Order”) [Dkt. No. 8053 & 8252].3
 15                                   PRELIMINARY STATEMENT
 16          A significant component of the consideration provided by the Debtors to the Fire Victim
 17   Trust (and therefore to the fire victims) under the Plan are the Assigned Claims, which include
 18   among others, causes of action relating to the Fires which the Debtors may have had against
 19   contractors, consultants and others. Over the course of these chapter 11 cases (the “Cases”) the
 20   Official Committee of Tort Claimants (the “TCC”) acted as a fiduciary and representative of fire
 21   victims, to collect and generate an extensive databank of information directly relevant to the Fire
 22   Victim Trust and much of it crucial for the Fire Victim Trust to affect its mandate in an efficient
 23   manner without wasting funds that are better served being provided to the victims. The databank
 24
      1
        Where the terms Fire Victim Trustee and Claims Administrator are used herein, in the proposed
 25   modified Protective Order, and in the Proposed Order, such terms include the Fire Victim
      Trustee, the Claims Administrator and their staff, consultants, experts, and counsel.
 26   2
        The Protective Order generally defines “Discovery Material” to include all information
 27   produced, generated, or provided in disclosures or responses to requests in connection with the
      Cases. See Protective Order at ¶ 2.4.
      3
 28     Capitalized terms have the definitions provided in the Plan or Protective Order, unless otherwise
      stated.

Case: 19-30088     Doc# 8492       Filed: 07/22/20     1
                                                      Entered: 07/22/20 17:12:17         Page 2 of
                                               34
  1   of information includes work product, documents and information about fire victims claims and
  2   the Assigned Claims. A statutory committee’s transfer of information and work product to a
  3   liquidating trust is a routine step during committee winddown. The orderly transfer from the TCC
  4   (and its professionals) of its information and work product to the Fire Victim Trust benefits the
  5   Trust and fire victims, by increasing the efficiency and effectiveness of the claims administration
  6   process and the prosecution of the Assigned Claims.
  7            The Protective Order was entered early on in these Cases, prior to the formation of a Trust
  8   for the fire victims. It does not expressly permit the TCC (and its professionals) to transfer the
  9   aforementioned information to the Fire Victim Trust and its professionals or for the Fire Victim
 10   Trustee’s and Claims Administrator’s access and use of the Discovery Material. The Protective
 11   Order does, however, acknowledge that the Court may modify any terms of the Protective Order
 12   at any time for good cause. Accordingly, the Fire Victim Trustee requests that the Court direct
 13   the following clarification and modification:4
 14            •   Clarify that the work of the Fire Victim Trust is within “the purposes of these Chapter
 15                11 Cases” as stated in paragraph 7.1 so the Trust may use the Discovery Material and
 16                make other clarifications to paragraphs 1, 2.11 and 3 of the Protective to achieve the
 17                same effect;
 18            •   Modify paragraph 7.3(b) to include the Trustee and Claims Administrator and their
 19                staff, advisors, consultants, experts, and counsel, so they can access confidential
 20                Discovery Material;
 21            •   Modify paragraph 8 to clarify that with respect to use of certain Discovery Material by
 22                the Fire Victim Trust in other litigation or proceeding, the Fire Victim Trust will seek
 23                entry in the relevant proceeding of a protective order with similar protections to the
 24                Protective Order; and
 25            •   Modify paragraphs 4 and 14 to extend the duration of the Protective Order and permit
 26                the Fire Victim Trust to retain the Discovery Material through completion of its work.
 27

 28   4
       A redline marking the proposed clarifications and modifications of the Protective Order is attached hereto as
      Exhibit 1.

Case: 19-30088        Doc# 8492        Filed: 07/22/20          2
                                                               Entered: 07/22/20 17:12:17             Page 3 of
                                                   34
  1          The requested clarification and modification would enable the TCC to effectuate a routine
  2   transfer of relevant information to the Fire Victim Trust for use in liquidating and administering
  3   the Trust for the largest creditor group in the Cases, and for prosecuting the Assigned Claims
  4   conveyed to the Fire Victim Trust under the Plan. The Protective Order, as clarified and
  5   modified, in combination with a common interest agreement among Baker & Hostetler, the TCC,
  6   the Trustee, the Claims Administrator, and others (the “Common Interest Agreement”), would
  7   provide uninterrupted protection for confidential, privileged, or work product material the TCC
  8   transfers to the Fire Victim Trust.
  9          There is good cause for clarifying and modifying the Protective Order. Doing so would
 10   permit the Fire Victim Trust to receive, access, and use information from the TCC for the benefit
 11   of the fire victims. The Debtors and Reorganized Debtors (as applicable, the “Debtors”), who
 12   provided the vast majority of the Discovery Material, consent to the transfer of their documents to
 13   the Fire Victim Trust following modification of the Protective Order. The TCC, which continues
 14   to exist for certain purposes under the Plan, also consents to the relief requested herein. Other
 15   parties that produced documents relevant to the Trust administration, including documents in
 16   response to the TCC’s 2004 subpoenas relating to the Assigned Claims, will not need to
 17   reproduce the same documents to the Trustee (all of which are relevant and would be subject to
 18   discovery), saving time and resources of both the Fire Victim Trust and third parties.
 19                                    JURISDICTION AND VENUE
 20          The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334,
 21   the Order Referring Bankruptcy Cases and Proceedings to Bankruptcy Judges, General Order 24
 22   (N.D. Cal.), and Rule 5011-1(a) of the Bankruptcy Local Rules for the United States District
 23   Court for the Northern District of California. This is a core proceeding pursuant to 28 U.S.C. §
 24   157(b). Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory
 25   basis for the Motion’s requested relief is section 105 of the United States Bankruptcy Code and
 26   Rules 2002(m) and 9007 of the Federal Rules of Bankruptcy Procedure.
 27   ///
 28   ///


Case: 19-30088     Doc# 8492       Filed: 07/22/20     3
                                                      Entered: 07/22/20 17:12:17        Page 4 of
                                               34
  1                                         BASIS FOR RELIEF
  2          The Plan authorizes the Trustee to administer and liquidate the Fire Victim Trust. See
  3   Plan at ¶¶ 6.7(a), 6.8(a). The Plan also funds the Fire Victim Trust, in part, by the assignment of
  4   the Assigned Claims. See id. at ¶ 6.7(a). Under the Plan, the Trustee is “substituted and will
  5   replace the Debtors” or “any official committee” for all Assigned Claims….” Id. at ¶ 6.8(b).
  6          The Fire Victim Trustee understands that the TCC has and continues to collect and
  7   organize information relevant to the Fire Victim Trust. For instance, the Fire Victim Trustee
  8   understand that the TCC has collected more than 5.7 million documents spanning more than 19.5
  9   million pages from the Debtors and other parties regarding the wildfires and fire victim claims.
 10   Additionally, the Fire Victim Trustee understands that the TCC obtained analyses from numerous
 11   consultants and experts regarding the wildfires and fire victim claims in preparation for the
 12   estimation trial and generated a vast body of work product related to both fire victim claims and
 13   the Assigned Claims. Moreover, the TCC also issued forty (40) Rule 2004 subpoenas to third
 14   parties as part of its due diligence of the Assigned Claims and plan confirmation.
 15          The transfer of the TCC’s extensive catalog of information would relieve the Fire Victim
 16   Trust of the expensive and time-consuming burden of recreating the same work. The documents
 17   that the TCC obtained from third parties, and continues to obtain from third parties, are
 18   documents that are relevant to the Assigned Claims, and would be obtainable by the Fire Victim
 19   Trust in its own Rule 2004 exams or other discovery. Thus, the issue is not whether the Fire
 20   Victim Trust should be entitled to receive such documents, but whether amendments to the
 21   Protective Order should be made in order to ensure that the Fire Victims Trust is not hampered by
 22   the terms in the Protective Order that were drafted before the concept of a Fire Victim Trust was
 23   contemplated. Similarly, the TCC’s organization of documents, analyses from consultants and
 24   experts, and other similar information and work product would help the Trustee and Claims
 25   Administrator better understand wildfire-specific issues, make claims determinations, and would
 26   assist the Trustee with evaluating, planning, and prosecuting the Assigned Claims.
 27          Overall, the transfer of information and work product from the TCC to the Fire Victim
 28   Trust would benefit the Fire Victim Trust and fire victims by avoiding duplicative costs,


Case: 19-30088     Doc# 8492      Filed: 07/22/20      4
                                                      Entered: 07/22/20 17:12:17        Page 5 of
                                              34
  1   achieving administration efficiencies, and potentially increasing recoveries on Assigned Claims.
  2   Additionally, the transfer of the millions of documents produced by the Debtors and third parties
  3   would save the Reorganized Debtors and third parties the time and expense of reproducing those
  4   same documents to the Trustee.
  5          The relief requested herein is not extraordinary. The transfer of a statutory committee’s
  6   documents and work product to liquidating trusts, as sought here, is recognized as “prevent[ing]
  7   the bankruptcy estate from having to pay twice for the same investigation in pursuit of potential
  8   claims.” In re New Century TRS Holdings, Inc., 407 B.R. 558, 568 (Bankr. D. Del. 2009) (Carey,
  9   J.) (authorizing creditors’ committee and examiner to transfer materials on estate’s potential
 10   claims to liquidating trustee). Transfer of the TCC’s documents to the Fire Victim Trust does not
 11   raise concerns about inappropriate access by third parties, but rather is “allowing access to the
 12   same documents by a party who succeeded to the claims of the debtor’s estate, such as the
 13   Liquidating Trustee, and is pursuing the claims for the benefit of creditors in accordance with the
 14   terms of a confirmed plan.” Id. at 569. It is an unremarkable request that the assignee and
 15   successor to claims of the estate to be prosecuted for the benefit of creditors is able to receive
 16   discovery generated during the Case in connection with those claims, and it is appropriate that the
 17   Protective Order be amended to permit such turnover.
 18          Accordingly, the Fire Victim Trustee requests clarification and modification of the
 19   Protective Order, explained below, so the Fire Victim Trust may receive, access, and use the
 20   TCC’s information.
 21          A.      Clarification that the Fire Victim Trust May Use Discovery Material.
 22          The Fire Victim Trustee requests clarification that the work of the Fire Victim Trust is
 23   “for purposes of” the Cases so the Fire Victim Trust may use Discovery Material. The Protective
 24   Order states that Discovery Material may be used “solely for purposes of these Chapter 11 Cases
 25   and not for any other purpose, including any other litigation of judicial proceedings.…”
 26   Protective Order at ¶ 7.1. The Protective Order was entered prior to the existence of the Fire
 27   Victim Trustee and Claims Administrator and does not refer to them, or state expressly whether
 28   their work is “for purposes of” the Cases. To avoid uncertainty about the Protective Order


Case: 19-30088     Doc# 8492      Filed: 07/22/20      5
                                                      Entered: 07/22/20 17:12:17       Page 6 of
                                              34
  1   possibly precluding their use of Discovery Material, the Fire Victim Trustee seeks clarification of
  2   Paragraph 7.1.
  3          To assist in that clarification, the Fire Victim Trustee requests express clarification in
  4   Paragraph 1 of the Protective Order that the Protective Order applies to all discovery “provided or
  5   used for the administration of the Fire Victim Trust or pursuit of the Assigned Rights and Causes
  6   of Action . . . .” Relatedly, the Fire Victim Trustee requests modification of Paragraph 3, the
  7   “Scope” provision of the Protective Order, to expressly state that the Order applies to all
  8   Discovery Material produced “to assist in the Administration of the Fire Victim Trust or pursuit
  9   of the Assigned Rights and Causes of Action . . . .” To make the requested modifications
 10   internally consistent, the Fire Victim Trustee requests the addition of a definitional paragraph to
 11   define “Assigned Rights and Causes of Action”, “Fire Victim Trust,” “Fire Victim Trustee,” and
 12   “Claims Administrator” to assign the definitions provided to them in the Plan.
 13          The Fire Victim Trust’s work should be confirmed as “for purposes of” the Cases. The
 14   Fire Victim Trustee and Claims Administrator’s work includes administering and liquidating the
 15   Fire Victim Trust established by the Plan for the largest creditor group in the Cases. This work is
 16   for purposes of the Cases because “a chief purpose” of bankruptcy cases is the prompt and
 17   effective administration, distribution, and settlement of the estate. In re Beaty, 306 F.3d 914, 922
 18   (9th Cir. 2002). The Fire Victim Trustee’s work also includes prosecuting the Assigned Claims,
 19   and this work is for purposes of the Cases because the Assigned Claims constitute a part of the
 20   consideration for the Fire Victim Trust and the Plan authorizes the Fire Victim Trustee to
 21   “prosecute or settle” the Assigned Claims among his powers and duties under the Plan. See Plan
 22   at ¶¶ 6.7(a), 6.8(a); see also New Century TRS Holdings, 407 B.R. at 569 (noting that post-
 23   confirmation trust was “pursuing the claims for the benefit of creditors in accordance with the
 24   terms of a confirmed plan”). As demonstrated by the Fire Victim Trustee substituting and
 25   replacing the Debtors and the TCC upon the Effective Date, see Plan at ¶ 6.8(b), the work of
 26   carrying out the Plan for the Cases certainly is for purposes of the Cases.
 27          The requested clarification also is consistent with the purpose of the Protective Order. Its
 28   first purpose is to “facilitate and expedite the production, exchange and treatment of Discovery


Case: 19-30088     Doc# 8492       Filed: 07/22/20      6
                                                       Entered: 07/22/20 17:12:17         Page 7 of
                                               34
  1   Material,” and the Protective Order covers and enables all forms of discovery in the Cases and
  2   related proceedings. See Protective Order at ¶ 1. The transfer of the TCC’s information to the
  3   Fire Victim Trust furthers the Protective Order’s purpose by facilitating the provision of
  4   information to avoid inefficiency and duplication of work. See New Century TRS Holdings, 407
  5   B.R. at 568 (explaining transfer of committee information to liquidating trust is consistent with
  6   protective order and its purpose of enabling efficient exchange of information). The Debtors,
  7   who the Fire Victim Trustee understands provided the majority of the Discovery Material,
  8   consent to this requested clarification.5 The TCC also consents to the relief requested herein.
  9          B.         Modification to permit the Fire Victim Trustee and Claims Administrator to
                        access confidential information.
 10
             The Fire Victim Trustee also requests a modification of the Protective Order to include the
 11
      Fire Victim Trustee and Claims Administrator among the list of those permitted to access
 12
      Discovery Material, including the Material designated as confidential (the “Protected
 13
      Material”).6 The Protective Order permits access to Protected Material by “financial advisors,
 14
      accounting advisors, experts, and consultants” that are “retained by the Receiving Party”7 and
 15
      “approved by the Court” if retained by a committee. Protective Order at ¶ 7.3(b). This list does
 16
      not expressly include the Fire Victim Trustee, Claims Administrator, or professionals they engage
 17
      to assist them.
 18
             In order to update the Protective Order to include the Fire Victim Trustee, the Claims
 19
      Administrator and their professionals, the TCC requests that paragraph 7.3(b) be modified as
 20
      follows (modification in blackline):
 21

 22                 7.3     Disclosure of “HIGHLY CONFIDENTIAL” or
             “PROFESSIONAL EYES ONLY” Information or Items. Unless otherwise
 23          ordered by the Court or permitted by the Designating Party, a Receiving Party
 24
      5
 25     While the Protective Order suggests a process for negotiating particular uses of discovery with
      each producing party, see Protective Order at ¶ 7.3(k), this process is not required, see id. at 13.4,
 26   and the number of parties producing discovery would make it impractical if not impossible.
 27
      6
        The Protective Order defines Protected Material as “any Discovery Material that is designated
      as “CONFIDENTIAL”, “HIGHLY CONFIDENTIAL”, PROFESSIONAL EYES ONLY”, or
 28   “CONTRACTOR CONFIDENTIAL.” Protective Order at ¶ 2.9.
      7
        “Receiving Party” refers recipients of the Discovery Material from a producing party.

Case: 19-30088      Doc# 8492      Filed: 07/22/20      7
                                                       Entered: 07/22/20 17:12:17         Page 8 of
                                               34
  1           may disclose any information or item designated “HIGHLY CONFIDENTIAL”
              or “PROFESSIONAL EYES ONLY” only to:
  2                   ***
              (b) the Fire Victim Trustee and the Claims Administrator under the Fire Victim
  3           Trust approved by the Court and their respective staff, advisors, experts,
              consultants, and counsel, or financial advisors, accounting advisors, experts,
  4           consultants (and their respective staff) that are retained by the Receiving Party
              (and in the case of the Debtors or any Official Committee, approved by the
  5           Court), in connection with the Chapter 11 Cases who have signed the
              “Acknowledgement and Agreement to be Bound (Exhibit A);
  6

  7   As modified, the Protective Order would consider the Fire Victim Trustee and Claims

  8   Administrator (and their staffs and professionals) the same as advisors, experts, and consultants

  9   for the Parties, with the same rights and obligations with respect to the Protected Material. This

 10   modification is consistent with, if not required by, the Plan’s provisions that substitute the Fire

 11   Victim Trustee for the Debtors and official committees with respect to the Assigned Claims. See

 12   Plan at ¶ 6.8(b).

 13           With the modification, the Fire Victim Trustee and Claims Administrator would be

 14   permitted to receive (and the TCC would be enabled to transfer) the Discovery Material,

 15   including the Protected Material.8 Information and work product transferred by the TCC also

 16   would be eligible for additional protection under the Common Interest Agreement. The

 17   Protective Order acknowledges that the Court retains the authority to make the requested

 18   modification. See Protective Order at ¶ 7.3 (“Unless otherwise ordered by the Court…”).

 19           Similarly, paragraph 8 of the Protective Order has been modified to add the following

 20   language to ensure that information produced to the Fire Victim Trust would be protected from

 21   disclosure in other litigation or proceedings:

 22                   In addition to the notice obligations set forth above, in any other litigation
                      or proceedings instituted by or against the Fire Victim Trust involving the
 23                   disclosure of information or items designated in a Case or these Chapter
                      11 Cases as “CONFIDENTIAL”, “HIGHLY CONFIDENTIAL”,
 24                   “PROFESSIONAL            EYES        ONLY”,        or      “CONTRACTOR
                      CONFIDENTIAL” pursuant to this Order, the Fire Victim Trust shall,
 25                   prior to disclosing Protected Material, seek entry in the relevant
 26
      8
        With access to materials under paragraph 7.3, the Trustee and Claims Administrator could also
 27   receive documents bearing other levels of confidentiality under the Protective Order. See
      Protective Order at ¶ 7.2(f) (providing that persons specified in paragraph 7.3 may receive
 28   “CONFIDENTIAL” materials) and ¶ 7.4 (providing that non-PG&E persons specified in
      paragraph 7.3 may receive “CONTRACTOR CONFIDENTIAL” materials).

Case: 19-30088      Doc# 8492      Filed: 07/22/20      8
                                                       Entered: 07/22/20 17:12:17         Page 9 of
                                               34
 1                  proceedings of a protective order and confidentiality agreement that
                    provides similar protections for such items and/or information as set forth
 2                  in this Order.
 3           The Fire Victim Trustee understands that the Debtors and the TCC consent to these
 4   requested modification.
 5           C.     Modification to Extend Duration of the Protective Order and Retention of
                    Protected Material Through the Completion of the Fire Victim Trust Work.
 6

 7           The Fire Victim Trustee also requests that the Court direct a modification so that the

 8   Protective Order continues for the duration of the Fire Victim Trust’s work and permits the Fire

 9   Victim Trustee and Claims Administrator to retain confidential information until they complete

10   their work.

11           The Protective Order elsewhere states that Protected Material must be destroyed or

12   returned “[w]ithin 90 days after conclusion of the Debtors’ emergence from Bankruptcy, unless

13   otherwise ordered by the Court.” Id. at ¶ 14.9 This could be read to preclude the Fire Victim

14   Trust from retaining and utilizing Protected Material beyond 90 days after the Debtors’

15   emergence from bankruptcy, unless otherwise ordered by the Court.

16           The claims administration and prosecution of the Assigned Claims undoubtedly will

17   extend beyond the Protective Order’s current duration and final disposition of material (90 days

18   after the Debtors’ emergence). For the Fire Victim Trust to retain and use Discovery Material

19   until its work is completed, the Fire Victim Trustee requests that the Court direct the following

20   modification of paragraph 14 of the Protective Order:

21       •   the final disposition of Protected Material by the Claims Administrator and the Trustee
             under paragraph 14 shall occur within 90 days of the later of (a) the Claims Administrator
22           notifying the Court that the Fire Victim Trust claims process has concluded and (b) the
             Trustee notifying the Court that the litigation of the Assigned Claims has concluded.
23

24   As above, this requested modification is consistent with the Fire Victim Trustee’s and Claims

25   Administrator’s roles in the Cases, which includes the use of Discovery Material for

26   administering the fire victim claims and handling the Assigned Claims through their completion.

27

28   9
      Paragraph 7.1 further provides: “When the Debtors emerge from Bankruptcy, a Receiving Party
     must comply with the provisions of section 14 below (FINAL DISPOSITION).”

Case: 19-30088     Doc# 8492      Filed: 07/22/20     9
                                                      Entered: 07/22/20 17:12:17        Page 10
                                            of 34
 1   The Protective Order authorizes the requested modification. See Protective Order at ¶ 4 (“or a
 2   Court order otherwise directs...”); id. at ¶ 14 (“unless otherwise ordered by the Court...”). Again,
 3   the Fire Victim Trustee understands that the Debtors and the TCC consent to the requested
 4   modification.
 5          D. There is Good Cause for the Requested Clarification and Modification.
 6          There is good cause for the requested clarification and modification. See Protective Order
 7   at ¶ 13.4 (“any or all of the provisions” may be modified “upon good cause shown”); see also
 8   Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1133 (9th Cir. 2003) (explaining that
 9   courts have inherent authority to modify protective orders upon consideration of benefits of
10   further disclosure and reliance interests of parties that provided information).
11          As explained above, the requested clarification and modification would enable the TCC to
12   transfer its database of relevant material to the Fire Victim Trust so it may avoid spending time
13   and money to replicate the TCC’s work. This alone is good cause. See CBS Interactive, Inc. v.
14   Etilize, Inc., 257 F.R.D. 195, 206 (N.D. Cal. 2009) (finding good cause to modify protective order
15   and permit further sharing of material to avoid duplicative discovery effort).
16          There is additional good cause because the clarification and modification to permit the
17   Fire Victim Trustee to use the TCC’s information for litigating the Assigned Claims furthers the
18   “strong policy” in this Circuit “favor[ing] access to discovery materials to meet the needs of
19   parties engaged in collateral litigation.” Foltz, 331 F.3d at 1133; Beckman Indus., Inc. v. Int’l Ins.
20   Co., 966 F.2d 470, 475 (9th Cir. 1992) (explaining “Ninth Circuit precedent strongly favors” use
21   of discovery materials in “one litigation to facilitate preparation in other cases” because this
22   “advances the interests of judicial economy by avoiding the wasteful duplication of discovery.”).
23          On balance, there is good cause for clarifying and modifying the Protective Order to
24   permit the Fire Victim Trust to receive, access, and use the TCC’s information, confirmed by the
25   Debtors’ consent and agreement for their documents to be transferred to the Fire Victim Trust,
26   and the Fire Victim Trustee’s agreement to receive the documents, following clarification and
27   modification of the Protective Order.
28   ///


Case: 19-30088       Doc# 8492     Filed: 07/22/20 10
                                                   Entered: 07/22/20 17:12:17            Page 11
                                             of 34
 1                                                NOTICE
 2          Notice of this Motion will be provided to (i) counsel to the Debtors; (ii) the Office of the
 3   U.S. Trustee for Region 17 (Attn: Andrew R. Vara, Esq. and Timothy Laffredi, Esq.);
 4   (iii) counsel to the Creditors Committee; (iv) the Securities and Exchange Commission; (v) the
 5   Internal Revenue Service; (vi) the Office of the California Attorney General; (vii) the California
 6   Public Utilities Commission; (viii) the Nuclear Regulatory Commission; (ix) the Federal
 7   Regulatory Commission; (x) the Office of the United States Attorney for the Northern District of
 8   California; (xi) counsel for the agent under the Debtors’ debtor in possession financing facility;
 9   (xii) the Consenting Fire Claimant Professionals; (xiii) counsel for the Shareholder Proponents;
10   (xiv) those persons who have formally appeared in these chapter 11 cases and requested service
11   pursuant to Bankruptcy Rule 2002; and (xv) the recipients of the TCC’s document subpoena. The
12   Fire Victim Trustee respectfully submits that no further notice is required.
13                                                CONCLUSION
14          WHEREFORE, for the good cause shown and reasons presented herein, the Fire Victim
15   Trustee respectfully requests entry of the Proposed Order and any further relief the Court may
16   deem just and proper.
17   DATED: July 22, 2020                      BROWN RUDNICK LLP
18

19                                             By: /s/ Joel S. Miliband
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                                                     And
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27                                                   Counsel for Fire Victim Trustee

28


Case: 19-30088     Doc# 8492      Filed: 07/22/20 11
                                                  Entered: 07/22/20 17:12:17           Page 12
                                            of 34
 1                                    EXHIBIT “A”
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26                                    EXHIBIT “A”
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Case: 19-30088   Doc# 8492   Filed: 07/22/20 12
                                             Entered: 07/22/20 17:12:17   Page 13
                                       of 34
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16
                                 UNITED STATES BANKRUPTCY COURT
17
                                 NORTHERN DISTRICT OF CALIFORNIA
18
                                          SAN FRANCISCO DIVISION
19
     In re:                                            Bankruptcy Case No. 19-30088 (DM)
20
     PG&E CORPORATION,                                 Chapter 11
21
              – and –                                  (Lead Case)
22
     PACIFIC GAS AND ELECTRIC COMPANY,                 (Jointly Administered)
23
                                   Debtors.            CONFIDENTIALITY AND PROTECTIVE
24                                                     ORDER
      Affects PG&E Corporation
25    Affects Pacific Gas and Electric Company
      Affects both Debtors
26
     All papers shall be filed in the Lead Case,
27   No. 19-30088 (DM).

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Case: 19-30088          Doc# 8492                Page 13 Entered: 07/22/20 17:12:17
                                         Filed: 07/22/20                                   Page 14
                                                   of 34
                                                                                                            2


1            This Confidentiality and Protective Order (“Order”) shall govern the production, review,
2    disclosure, and handling of any Discovery Material (as defined herein) by any person or entity (each a
3    “Party” and, collectively, the “Parties”) in connection with the above-captioned chapter 11 cases
4    pending before the United States Bankruptcy Court for the Northern District of California (the
5    “Bankruptcy Court”), Ch. 11 Case Nos. 19-30088 (DM) and 19-30089 (DM) (collectively, the

6    “Chapter 11 Cases”).
7    1.      PURPOSES AND LIMITATIONS

8            This Order applies to all discovery in the Chapter 11 Cases and related proceedings, including

9    informal discovery, discovery provided or used for the administration of the Fire Victim Trust or

10   pursuit of the Assigned Rights and Causes of Action (as each term is defined herein), discovery under

11   Bankruptcy Rule 2004, and discovery in connection with judicial or other proceedings, such as

12   contested matters, adversary proceedings and other disputes (each, a “Case,” and collectively, the

13   “Cases”). The Parties have sought or may seek certain Discovery Material (as defined below) from one

14   another with respect to the Chapter 11 Cases (collectively, “Discovery Requests”) as provided by the

15   Federal Rules of Civil Procedure (the “Federal Rules”), the Bankruptcy Rules, and the Local Rules of

16   Bankruptcy Practice and Procedure of the Bankruptcy Court (the “Local Rules”). The purpose of this

17   Order is to facilitate and expedite the production, exchange and treatment of Discovery Material (as

18   defined below) and to protect Discovery Material that a Party seeks to maintain as confidential.

19   However, the Parties acknowledge that this Order does not entitle them to file confidential information

20   under seal without further order of the Court; United States District Court for the Northern District of

21   California Civil Local Rule 79-5 (incorporated into the Local Rules by Rule 1001-2) sets forth the

22   procedures that must be followed and the standards that will be applied when a Party seeks permission

23   from the Court to file material under seal.

24   2.      DEFINITIONS

25                   2.1     Challenging Party: a Party that challenges the designation of information or

26   items under this Order.

27                   2.2     Counsel (without qualifier): Outside Counsel of Record or House Counsel (as

28   well as their support staff).




Case: 19-30088          Doc# 8492               Page 14 Entered: 07/22/20 17:12:17
                                        Filed: 07/22/20                                           Page 15
                                                  of 34
                                                                                                             3


1                   2.3     Designating Party: a Party that designates information or items that it produces
2    in response to Discovery Requests as “CONFIDENTIAL”, “HIGHLY CONFIDENTIAL”,
3    “PROFESSIONAL EYES ONLY” or “CONTRACTOR CONFIDENTIAL.”
4                   2.4     Discovery Material: all items or information, regardless of the medium or
5    manner in which it is generated, stored, or maintained (including, among other things, testimony,

6    transcripts, and tangible things), that are produced or generated in disclosures or responses to

7    Discovery Requests or provided to industry advisors, financial advisors, accounting advisors, experts

8    and consultants (and their respective staff) that are retained by the Debtors’ creditors in connection

9    with the Chapter 11 Cases, including deposition testimony, interrogatories, answers to interrogatories,

10   requests for admission, responses to requests for admission, documents, information and things

11   produced, including information provided to the Receiving Party orally, as well as any and all copies,

12   abstracts, digests, notes, summaries, and excerpts thereof.

13                  2.5     House Counsel: attorneys who are employees or contractors of a Party. House

14   Counsel does not include Outside Counsel of Record or any other outside counsel.

15                  2.6     Outside Counsel: attorneys who are not employees of a Party but are retained to

16   represent or advise a Party regarding the Chapter 11 Cases. With respect to the Debtors, and any

17   Official Committee, Outside Counsel refers to counsel that has been retained by one of the above

18   Parties and whose retention has been approved by the Court.

19                  With respect to the Ad Hoc Group of Subrogation Claim Holders (the “Ad Hoc

20   Group”), Outside Counsel also shall include attorneys who have signed the “Acknowledgment and

21   Agreement to Be Bound” (Exhibit A), so long as the attorney continues to represent members of the

22   Ad Hoc Group in such capacity (the “Subrogation Outside Counsel”).

23                  2.7     Producing Party: a Party that produces Discovery Material.

24                  2.8     Professional Vendors: persons or entities that provide litigation support services

25   (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and organizing,

26   storing, or retrieving data in any form or medium) and their employees and subcontractors.

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 Case: 19-30088           Doc# 8492              Page 15 Entered: 07/22/20 17:12:17
                                         Filed: 07/22/20                                            Page 16
                                                   of 34
                                                                                                             4


1                   2.9    Protected    Material:   any   Discovery    Material   that   is    designated   as
2    “CONFIDENTIAL”,         “HIGHLY        CONFIDENTIAL”,         “PROFESSIONAL              EYES    ONLY”
3    “CONTRACTOR CONFIDENTIAL.”
4                   2.10   Receiving Party: a Party that receives Discovery Material directly from the
5    Producing Party.

6                   2.11   “Assigned Rights and Causes of Action”, “Fire Victim Trust,” “Fire Victim

7    Trustee” and “Claims Administrator” shall have the definitions provided in the Debtors’ Court-

8    approved Plan of Reorganization dated June 19, 2020, [Dkt. No. 8053].

9    3.     SCOPE

10          This Order applies to all Discovery Material exchanged in or subject to discovery that is

11   produced, formally or informally in response to or in connection with any Discovery Requests in the

12   Cases. or to assist in the administration of the Fire Victim Trust or pursuit of the Assigned Rights and

13   Causes of Action (the “Assigned Claims”). Except as otherwise set forth herein, Discovery Material

14   produced informally by the Debtors in connection with the Chapter 11 Cases or pursuant to Rule 2004

15   (unless otherwise agreed by the Debtors) may only be used in the Chapter 11 Cases, including in

16   connection with any contested motions in the Chapter 11 Cases, and may not be used in connection

17   with any adversary proceeding or other litigation. This Order does not affect, amend or modify any

18   existing confidentiality agreements, Committee Bylaws, non-disclosure agreements, intercreditor

19   agreements, protective orders or similar agreements applicable to any Producing Party and/or

20   Receiving Party, and nothing in this Order shall constitute a waiver of any rights under such

21   agreements or orders. Where this Order is in conflict with any existing confidentiality agreements,

22   intercreditor agreements, Committee Bylaws, non-disclosure agreements, protective orders or similar

23   agreements applicable to any Producing Party and/or Receiving Party in connection with the Cases, the

24   provision that provides the most confidentiality protection for Discovery Materials applies.

25          The protections conferred by this Order cover not only Protected Material, but also (1) any

26   information copied or extracted from Protected Material; (2) all copies, excerpts, summaries, or

27   compilations of Protected Material; and (3) any testimony, conversations, or presentations by Parties or

28   their Counsel that might reveal Protected Material. However, the protections conferred by this Order




Case: 19-30088          Doc# 8492              Page 16 Entered: 07/22/20 17:12:17
                                       Filed: 07/22/20                                               Page 17
                                                 of 34
                                                                                                              5


1    do not cover the following information: (a) any information that is in the public domain at the time of
2    disclosure to a Receiving Party or becomes part of the public domain after its disclosure to a Receiving
3    Party as a result of publication not involving a violation of this Order, including becoming part of the
4    public record through trial or otherwise; and (b) any information known to the Receiving Party prior to
5    the disclosure or obtained by the Receiving Party after the disclosure from a source who obtained the

6    information lawfully and under no obligation of confidentiality to the Designating Party.
7           This Order does not apply to (a) the California Public Utilities Commission; (b) the state
8    agencies as defined in California Government Code section 11000 and including the California State
9    University; (c) the United States of America; (d) the City and County of San Francisco; (e) the City of

10   San José; (f) Sonoma Clean Power Authority; (g) Valley Clean Energy Alliance; (h) Redwood Coast
11   Energy Authority; (i) Pioneer Community Energy; (j) Peninsula Clean Energy; (k) CleanPowerSF; (l)
12   Marin Clean Energy; (m) Silicon Valley Clean Energy Authority; (n) East Bay Community Energy
13   Authority; (o) the Monterey Bay Community Power Authority; (p) the Northern California Power

14   Agency; and (q) Transmission Agency of Northern California. With respect to the entities in (f)-(o)

15   above (collectively, the “CCA’s”) and with respect to the entities in (p) and (q) above (collectively, the
16   “JPA’s”), the carve- out includes each of the governmental unit constituent members of the CCA’s and

17   the JPA’s, solely in such governmental unit’s capacity as a constituent member of the applicable CCA
18   or JPA.

19          Nothing herein shall prevent or otherwise restrict a Receiving Party from notifying,

20   confidentially and in good faith, law enforcement or regulatory personnel of a governmental unit of a
21   potential violation of law revealed by the Discovery Material; provided that such notification shall not

22   involve the transmission of the Protected Materials themselves.
23   4.     DURATION

24          Even after Debtors’ emergence from Bankruptcy, the confidentiality obligations imposed by

25   this Order shall remain in effect until a Designating Party agrees otherwise in writing or a Court order

26   otherwise directs. The Debtors’ emergence from Bankruptcy shall not relieve the Parties from their

27   responsibility to maintain the confidentiality of Discovery Material pursuant to this Order, and the

28   Court shall retain jurisdiction to enforce the terms of this Order.




 Case: 19-30088          Doc# 8492                Page 17 Entered: 07/22/20 17:12:17
                                          Filed: 07/22/20                                            Page 18
                                                    of 34
                                                                                                                6


1    5.     DESIGNATING PROTECTED MATERIAL
2                   5.1     Manner and Timing of Designations. Subject to Paragraphs 5.5 and 5.6 and,

3    except as otherwise provided in this Order, or as otherwise stipulated or ordered, Discovery Material

4    that qualifies for protection under this Order must be clearly so designated before the material is

5    disclosed or produced. Any Producing Party may designate Discovery Material as “CONFIDENTIAL”,

6    “HIGHLY       CONFIDENTIAL”,          “PROFESSIONAL           EYES     ONLY”         or   “CONTRACTOR

7    CONFIDENTIAL” in accordance with the following provisions:

8                   5.2     “CONFIDENTIAL” Material. A Producing Party may designate Discovery

9    Material as “CONFIDENTIAL” if such Producing Party believes in good faith (or with respect to

10   documents received from another person, has been reasonably advised by such other person) that: (1)

11   such Discovery Material (a) constitutes or contains nonpublic proprietary or confidential technical,

12   business, financial, personal or other information of a nature that can be protected under the

13   Bankruptcy Rules or the Federal Rules or (b) is subject by law or by contract to a legally protected

14   right of privacy; or (2) the Producing Party (a) is under a preexisting obligation to a third-party to treat

15   such Discovery Material as confidential or (b) has in good faith been requested by another Party to so

16   designate such Discovery Material on the grounds that such other Party considers such Discovery

17   Material to contain information that is confidential or proprietary to such Party.

18                  5.3     “HIGHLY CONFIDENTIAL” or “PROFESSIONAL EYES ONLY” Material. A

19   Producing Party may designate Discovery Material as “HIGHLY CONFIDENTIAL” and/or

20   “PROFESSIONAL EYES ONLY” if such Producing Party believes in good faith (or with respect to

21   documents received from another person, has been reasonably advised by such other person) that such

22   Discovery Material constitutes or includes “HIGHLY CONFIDENTIAL” and/or “PROFESSIONAL

23   EYES ONLY” Material that is of such a nature that a risk of competitive injury or a material risk to the

24   Debtors’ development of a plan of reorganization or emergence from Bankruptcy would be created if

25   such Discovery Material were disclosed to persons other than those identified in Paragraph 7.3 of this

26   Order, such as trade secrets, sensitive financial, personal or business information, including insurance

27   policy information, or material prepared by its industry advisors, financial advisors, accounting

28   advisors, experts or consultants (and their respective staff) that are retained by any Party in connection




 Case: 19-30088           Doc# 8492               Page 18 Entered: 07/22/20 17:12:17
                                          Filed: 07/22/20                                              Page 19
                                                    of 34
                                                                                                             7


1    with these Chapter 11 Cases, and only to the extent that the Producing Party believes in good faith that
2    such material is of such a nature that Highly Confidential or Professional Eyes Only treatment is
3    warranted.
4                   5.4        “CONTRACTOR CONFIDENTIAL” Material.
5                   (a)        A Producing Party may designate Discovery Material as “CONTRACTOR

6    CONFIDENTIAL” if disclosure of such Material to a PG&E contractor would create a substantial risk

7    of serious harm that could not be avoided by less restrictive means. “PG&E Contractors” means any

8    person or entity retained to provide any goods and/or services to PG&E. This designation will also

9    encompass the following: (1) any information copied or extracted from Contractor Confidential

10   material; (2) all copies, excerpts, summaries, or compilations of Contractor Confidential material; and

11   (3) any testimony, conversations, or presentations by parties or their Counsel that might reveal

12   Contractor Confidential material.

13                  (b)        If a PG&E Contractor is a Producing Party, the PG&E Contractor may redact

14   sensitive and proprietary information at the time of its initial production, identifying the redaction by

15   general description (for example, “bidding calculations,” or “profit information”). If any Party objects

16   to the redaction of such information and contends that a particular need exists for production of the

17   redacted information, the procedures for challenging confidential designations in Paragraph 6 shall

18   apply to the redaction.

19                  5.5        Manner Of Designating Discovery Material. Designation in conformity with this

20   Order requires:

21   (a)    for information in documentary form (e.g., paper or electronic documents, but excluding

22   transcripts of depositions or other pretrial or trial proceedings), that the Producing Party affix the

23   legend “CONFIDENTIAL”, “HIGHLY CONFIDENTIAL”, “PROFESSIONAL EYES ONLY”

24   “CONTRACTOR CONFIDENTIAL” to each page that contains protected material.

25   (b)    for testimony given in deposition or in other pretrial or trial proceedings, such testimony may

26   be designated as appropriate by: (a) Stating so orally on the record and requesting that the relevant

27   portion(s) of testimony is so designated; or (b) Providing written notice within seven (7) days of the

28   Party’s receipt of the final transcript from the court reporter that the relevant portion(s) of such




 Case: 19-30088           Doc# 8492                Page 19 Entered: 07/22/20 17:12:17
                                           Filed: 07/22/20                                          Page 20
                                                     of 34
                                                                                                                8


1    transcript or recording of a deposition thereof is so designated, except in the event that a hearing on
2    related issues is scheduled to occur within seven (7) days, in which case the foregoing seven (7) day
3    period will be reduced to three (3) business days. Until expiration of the aforesaid designation period,
4    as applicable, following receipt of the transcript by the Parties, all deposition transcripts and recordings
5    shall be considered and treated as Confidential Material unless otherwise designated by counsel to any

6    Party on the record at the deposition or in other pretrial or trial proceedings.
7    (c)    for information produced in some form other than documentary and for any other tangible
8    items, that the Producing Party affix in a prominent place on the exterior of the container or containers
9    in which the information or item is stored the legend “CONFIDENTIAL”, “HIGHLY

10   CONFIDENTIAL”, “PROFESSIONAL EYES ONLY” or “CONTRACTOR CONFIDENTIAL.”
11                  5.6     Inadvertent Failures to Designate. The failure to designate particular Discovery
12   Material as “CONFIDENTIAL”, “HIGHLY CONFIDENTIAL”, “PROFESSIONAL EYES ONLY” or

13   “CONTRACTOR CONFIDENTIAL” at the time of production shall not operate to waive a Producing

14   Party’s right to later designate such Discovery Material as Protected Material or later apply another

15   designation pursuant to this Order (“Misdesignated Material”). At such time, arrangement will be

16   made for the destruction of the Misdesignated Material or for the return to the Producing Party of all

17   copies of the Misdesignated Material and for the substitution, where appropriate, of properly labeled

18   copies of such Discovery Material. Upon receipt of replacement copies of such Misdesignated Material

19   with the proper designation, the Receiving Party or Parties shall promptly take all commercially

20   reasonable steps to return or destroy all previously produced copies of such Misdesignated Material. If

21   requested by the Producing Party, a Receiving Party shall verify in writing that it has taken all

22   commercially reasonable steps to return or destroy such Misdesignated Material. No Party shall be

23   deemed to have violated this Order if, prior to notification of any later designation, such Discovery

24   Material was disclosed or used in any manner consistent with its original designation but inconsistent

25   with its later designation. Once such later designation has been made, however, any Discovery

26   Material shall be treated in accordance with that later designation; provided, however, that if the

27   material that was not designated has been, at the time of the later designation, previously publicly filed

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 Case: 19-30088           Doc# 8492               Page 20 Entered: 07/22/20 17:12:17
                                          Filed: 07/22/20                                             Page 21
                                                    of 34
                                                                                                               9


 1   with a Court, no Party shall be bound by such later designation except to the extent determined by the
 2   Court upon motion of the Party that did not make the designation.
 3   6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS

 4                   6.1     Timing of Challenge to Confidentiality Designations. A Receiving Party shall

 5   not be obliged to challenge the propriety of a confidentiality designation at the time made, and a failure

 6   to do so shall not preclude a subsequent challenge thereto. The failure of any Party to challenge the

 7   designation by a Producing Party of Discovery Materials as “Confidential,” “Highly Confidential,” or

 8   “Professional Eyes Only” during the discovery period shall not be a waiver of that Party’s right to

 9   object to the designation at trial.

10                   6.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution

11   process by providing written notice of each designation it is challenging and describing the basis for

12   each challenge. To avoid ambiguity as to whether a challenge has been made, the written notice must

13   recite that the challenge to confidentiality is being made in accordance with this specific paragraph of

14   the Order. Within five (5) business days of the date of service of the notice challenging the

15   designation, the Parties shall attempt to resolve each challenge in good faith and must begin the

16   process by conferring directly. In conferring, the Challenging Party must explain the basis for its belief

17   that the confidentiality designation was not proper and must give the Designating Party an opportunity

18   to review the Protected Material, to reconsider the circumstances, and, if no change in designation is

19   offered, to explain the basis for the chosen designation. A Challenging Party may proceed to the next

20   stage of the challenge process only if it has engaged in this meet and confer process first or establishes

21   that the Designating Party is unwilling to participate in the meet and confer process in a timely manner.

22                   6.3     Judicial Intervention. If the Parties cannot resolve a challenge without court

23   intervention and if either the Challenging Party or the Designating Party wishes to then seek Court

24   intervention, both the Challenging Party and Designating Party shall submit a joint letter or motion to

25   the Court, reflecting each party’s position, describing adherence to paragraph 6.2’s “meet and confer”

26   requirement, and attaching any relevant information (including documents or declarations), within ten

27   (10) business days after the conclusion of efforts to meet and confer and the indication in writing by

28   either the Challenging Party or the Designating Party of its intent to seek court intervention. If by joint




 Case: 19-30088            Doc# 8492               Page 21 Entered: 07/22/20 17:12:17
                                           Filed: 07/22/20                                            Page 22
                                                     of 34
                                                                                                              10


1    motion, the motion shall be set at the first available date on regular notice. The Court expects the
2    parties to cooperate in the preparation of the joint letter or motion so that each side has adequate time
3    to prepare its own arguments and address its adversary’s arguments before submission. The burden of
4    persuasion in any such challenge proceeding shall be on the Designating Party.
5           All Parties shall continue to afford the material in question the level of protection to which it is

6    entitled under the Producing Party’s designation until the Court rules on the challenge.
7    7.     ACCESS TO AND USE OF DISCOVERY MATERIAL

8                   7.1     Use of Discovery Material. A Receiving Party may use Discovery Material that

9    is disclosed or produced by another Party solely for the purposes of these Chapter 11 Cases and not for

10   any other purpose, including any other litigation or judicial proceedings, or any business, competitive,

11   governmental, commercial, or administrative purpose or function. In the case of use by Official

12   Committees or Committee Professionals, Protected Material may be used only in a manner consistent

13   with the Committee’s duties and responsibilities. Such Protected Material may be disclosed only to the

14   categories of persons and under the conditions described in this Order. When the Debtors emerge from

15   Bankruptcy, a Receiving Party must comply with the provisions of section 14 below (FINAL

16   DISPOSITION). For the avoidance of doubt, the administration of the Fire Victim Trust and the

17   prosecution of the Assigned Claims is deemed to be for the purposes of these Chapter 11 Cases and

18   Discovery Material may be used in connection with the administration of the Fire Victim Trust and the

19   prosecution of the Assigned Claims.

20          Protected Material must be stored and maintained by a Receiving Party at a location and in a

21   secure manner that ensures that access is limited to the persons authorized under this Order.

22                  7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise

23   ordered by the Court or permitted in writing by the Designating Party, a Receiving Party may disclose

24   any information or item designated “CONFIDENTIAL” only to:

25   (a)    the officers, directors, employees, and Counsel of the Receiving Party to whom disclosure is

26   reasonably necessary for purposes of the Chapter 11 Cases or a Case;

27   (b)    where the Receiving Party is an Official Committee, its members, Outside Counsel and its

28   advisors that are retained by the Official Committee or its Outside Counsel and where necessary




Case: 19-30088         Doc# 8492                Page 22 Entered: 07/22/20 17:12:17
                                        Filed: 07/22/20                                              Page 23
                                                  of 34
                                                                                                            11


1    approved by the Court, to whom disclosure is reasonably necessary for purposes of the Chapter 11
2    Cases or a Case;
3    (c)    the Debtors;
4    (d)    any Official Committee, including its members, and the Official Committee’s Outside Counsel
5    to whom the Producing Party has given consent;

6    (e)    the U.S. Trustee;
7    (f)    any other persons specified in Paragraph 7.3 below.
8                   7.3     Disclosure of “HIGHLY CONFIDENTIAL” or “PROFESSIONAL EYES
9    ONLY” Information or Items. Unless otherwise ordered by the Court or permitted in writing by the

10   Designating Party, a Receiving Party may disclose any information or item designated “HIGHLY
11   CONFIDENTIAL” or “PROFESSIONAL EYES ONLY” only to:
12   (a)    Outside Counsel of the Receiving Party to whom disclosure is reasonably necessary for
13   purposes of the Chapter 11 Cases or a Case;

14   (b)    the Fire Victim Trustee and the Claims Administrator under the Fire Victim Trust approved by

15   the Court and their respective staff, advisors, experts, consultants, and counsel, or financial advisors,

16   accounting advisors, experts and consultants (and their respective staff) that are retained by the

17   Receiving Party (and in the case of the Debtors or any Official Committee, approved by the Court) in

18   connection with the Chapter 11 Cases who have signed the “Acknowledgment and Agreement to Be

19   Bound” (Exhibit A);

20   (c)    financial advisors, accounting advisors, experts and consultants (and their respective staff) that

21   are retained by any Party (and in the case of the Debtors or any Official Committee, approved by the

22   Court) in connection with the Chapter 11 Cases, to whom the Producing Party may consent in writing

23   and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A).

24   (d)    Outside Counsel for the U.S. Trustee;

25   (e)    the Bankruptcy Court or any Court to which an appeal of a Case is taken, and their personnel;

26   (f)    court reporters and their staff, professional jury or trial consultants, mock jurors, and

27   Professional Vendors to whom disclosure is reasonably necessary for purposes of the Chapter 11 Cases

28   or a Case and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);




Case: 19-30088          Doc# 8492               Page 23 Entered: 07/22/20 17:12:17
                                        Filed: 07/22/20                                            Page 24
                                                  of 34
                                                                                                              12


1    (g)    for purposes of witness preparation, any deponent or witness who was noticed for a deposition,
2    or is on a witness list for hearing or trial, in preparation for his or her noticed deposition, hearing, or
3    trial testimony where such Protected Material is determined by counsel in good faith to be necessary to
4    the anticipated subject matter of testimony, and that doing so would not cause competitive harm,
5    provided, however, that such persons (1) sign the “Acknowledgment and Agreement to Be Bound”

6    (Exhibit A), (2) are only provided such Protected Material in connection with preparation for the
7    anticipated testimony, and (3) shall not be permitted to retain copies of such Protected Material.
8    (h)    Deponents and witnesses where counsel has a good faith basis for believing that the witness
9    would have had knowledge of the contents of the Protected Material in the course of fulfilling his or

10   her responsibilities or has information that directly bears upon the Protected Material.
11   (i)    the author or recipient of a document containing the information or a custodian or other person
12   who otherwise possessed or knew the information.
13   (j)    any adverse witness during the course of a deposition where counsel questioning the witness

14   reasonably and in good faith believes that questioning the witness regarding the document is necessary

15   and that doing so would not cause competitive harm and who have signed the “Acknowledgment and
16   Agreement to Be Bound” (Exhibit A).

17   (k)    any other person or entity with respect to whom the Producing Party may consent in writing
18   and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A). A request by a

19   Receiving Party under this Section 7.3(k) must be in writing and reasonably specify the Discovery

20   Materials that it seeks to disclose, the “person or entity” to which it seeks to disclose this Discovery
21   Material, and the reason it seeks to disclose these Discovery Materials. The Producing Party shall use

22   reasonable best efforts to provide a response in three (3) business days, and no later than (5) business
23   days, from receipt of a written request. If the request is denied, either Party may promptly seek Court

24   intervention.

25                   7.4     Disclosure of “CONTRACTOR CONFIDENTIAL” Information or Items.
26   Unless otherwise ordered by the Court or permitted in writing by the Designating Party, a Receiving

27   Party may disclose any information or item designated “CONTRACTOR CONFIDENTIAL” only to

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 Case: 19-30088            Doc# 8492              Page 24 Entered: 07/22/20 17:12:17
                                          Filed: 07/22/20                                             Page 25
                                                    of 34
                                                                                                             13


1    those parties listed in sections 7.2 – 7.3, but may not disclose such information to PG&E contractors or
2    their advisors.
3                      7.5     Filing or Submitting Protected Material To Court. Without written permission
4    from the Designating Party or a court order secured after appropriate notice to all interested persons, a

5    Party may not file in the public record related to a Case or the Chapter 11 Cases any Protected

6    Material. A Party that seeks to file any Protected Material with the Court must file under seal in

7    accordance with the Federal Rules, the Bankruptcy Rules, the Local Rules, and the individual practice

8    rules of the Judge. Protected Material may only be filed under seal pursuant to a court order

9    authorizing the sealing of the specific Protected Material at issue.

10                     7.6     Use of Protected Material in Open Court. The limitations on disclosure in this

11   Order shall not apply to any Discovery Materials offered or otherwise used by any Party at trial or any

12   hearing held in open court except as provided in this paragraph. As part of any pretrial conference or

13   any meet and confer regarding the use of exhibits in any evidentiary hearing, and at least 72 hours prior

14   to the use of any Protected Material at trial or any hearing to be held in open court, counsel for any

15   Party who desires to offer or use such Protected Material at trial or any hearing to be held in open court

16   shall meet and confer in good faith with the Producing Party together with any other Parties who have

17   expressed interest in participating in such meet and confer to discuss ways to redact the Protected

18   Material so that the material may be offered or otherwise used by any party, in accordance with the

19   provisions of the Bankruptcy Code and Bankruptcy Rules. If the Parties are unable to resolve a dispute

20   related to such Protected Material, then the Party who desires to offer or use such Protected Material at

21   trial or any hearing to be held in open court bears the burden of requesting relief from the Court and, in

22   the absence of such relief, such Protected Material shall not be offered or otherwise used at trial or any

23   hearing held in open court.

24   8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

25   PROCEEDINGS

26          If a Party is served with a subpoena or a court order issued in other proceedings that compels

27   disclosure of any information or items designated in a Case or these Chapter 11 Cases as

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 Case: 19-30088              Doc# 8492             Page 25 Entered: 07/22/20 17:12:17
                                           Filed: 07/22/20                                           Page 26
                                                     of 34
                                                                                                           14


1    “CONFIDENTIAL”,         “HIGHLY      CONFIDENTIAL”, “PROFESSIONAL EYES                    ONLY”,     or
2    “CONTRACTOR CONFIDENTIAL” that Party must:
3    (a)    promptly notify in writing the Designating Party. Such notification shall include a copy of the
4    subpoena or court order;
5    (b)    promptly notify in writing the party who caused the subpoena or order to issue in the other

6    litigation that some or all of the material covered by the subpoena or order is subject to this Order.
7    Such notification shall include a copy of this Order; and
8    (c)    cooperate with respect to all reasonable procedures sought to be pursued by the Designating
9    Party whose Protected Material may be affected.

10          If the Designating Party timely seeks a protective order, the Party served with the subpoena or
11   court order shall not produce any Protected Material before a determination by the Court from which
12   the subpoena or order issued, unless the Party has obtained the Designating Party’s permission. The
13   Designating Party shall bear the burden and expense of seeking protection in that Court of its

14   confidential material – and nothing in these provisions should be construed as authorizing or

15   encouraging a Receiving Party in this action to disobey a lawful directive from another Court.
16          In addition to the notice obligations set forth above, in any other litigation or proceedings

17   instituted by or against the Fire Victim Trust involving the disclosure of information or items

18   designated in a Case or these Chapter 11 Cases as “CONFIDENTIAL”, “HIGHLY CONFIDENTIAL”,

19   “PROFESSIONAL EYES ONLY”, or “CONTRACTOR CONFIDENTIAL” pursuant to this Order,

20   the Fire Victim Trust shall, prior to disclosing Protected Material, seek entry in the relevant

21   proceedings of a protective order and confidentiality agreement that provides similar protections for

22   such items and/or information as set forth in this Order.

23   9.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

24          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

25   Material to any person or in any circumstance not authorized under this Order, the Receiving Party

26   must immediately (a) notify in writing the Designating Party of the unauthorized disclosures, (b) use

27   its best efforts to retrieve all unauthorized copies of the Protected Material, (c) inform the person or

28   persons to whom unauthorized disclosures were made of all the terms of this Order, and (d) request




Case: 19-30088         Doc# 8492                Page 26 Entered: 07/22/20 17:12:17
                                        Filed: 07/22/20                                           Page 27
                                                  of 34
                                                                                                             15


1    such person or persons to execute the “Acknowledgment and Agreement to Be Bound” that is attached
2    hereto as Exhibit A. Disclosure of Protected Material other than in accordance with the terms of this
3    Order may subject the disclosing person to such sanctions and remedies as the Court may deem
4    appropriate.
5    10.    INADVERTENT PRODUCTION OF PRIVILEGED DISCOVERY MATERIAL

6           This Order is entered pursuant to Rule 502(d) of the Federal Rules of Evidence. If a Producing

7    Party produces materials that the Producing Party later discovers to be privileged or subject to other

8    protection, such as work-product protection, the production of that material shall not be deemed to

9    constitute the waiver of any applicable privileges or protections. In such circumstances, shortly after

10   the Producing Party becomes aware that privileged material was produced, it must notify the Receiving

11   Party and request, at the Producing Party’s election, either the return or the destruction of the produced

12   material. Immediately after receiving such notification, the Receiving Party shall, as instructed, return

13   or destroy and confirm destruction of all such produced material, including all copies, notes, and/or

14   summaries thereof in any Receiving Party work product. The Receiving Party shall not use the contents

15   of such material for any purpose, including in connection with any effort seeking to compel production

16   of the produced material. The Receiving Party must take reasonable steps to retrieve the produced

17   material if the Receiving Party disclosed it before being notified. Such return or destruction and

18   confirmation of destruction shall not preclude the Receiving Party from seeking to compel production

19   of the produced material for reasons other than its production or any information about the contents of

20   the material that was gained due to its production. Moreover, this Order shall not prevent any Party

21   from challenging the designation of such material as privileged or protected and moving to compel

22   production of allegedly privileged or protected documents. If the Receiving Party becomes aware

23   during the review of any material that is likely to be privileged or subject to other protection, the

24   Receiving Party shall immediately notify the Producing Party and sequester the material until the

25   Producing Party has had a reasonable opportunity to respond.

26   11.    DEPOSITIONS

27                  11.1     Presence Of Persons During Deposition Testimony. Anyone who attends a

28   deposition is subject to the provisions of this Order with respect to such deposition. When Protected




 Case: 19-30088            Doc# 8492             Page 27 Entered: 07/22/20 17:12:17
                                         Filed: 07/22/20                                             Page 28
                                                   of 34
                                                                                                              16


1    Material is elicited during a deposition, persons not entitled to receive such information under the
2    terms of this Order shall, upon request, be excluded from the portion of the deposition so designated.
3                    11.2     Responsibilities And Obligations Of Court Reporters. In the event that
4    testimony is designated as Confidential, Highly Confidential or Professional Eyes Only Material, the

5    court reporter, who shall first have agreed to abide by the terms of this paragraph, shall be instructed to

6    include on the cover page of each such transcript the legend, “This transcript portion contains

7    information subject to a Protective Order and shall be used only in accordance therewith,” and each

8    page of the transcript shall include the legend “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL”,

9    “PROFESSIONAL EYES ONLY” or “CONTRACTOR CONFIDENTIAL” as appropriate. If the

10   deposition is recorded, the recording shall also be subject to the same level of confidentiality as the

11   transcript   and    include     the   legend    “CONFIDENTIAL”,         “HIGHLY       CONFIDENTIAL”,

12   “PROFESSIONAL EYES ONLY,” or “CONTRACTOR CONFIDENTIAL” as appropriate, if any

13   portion of the transcript itself is so designated.

14   12.     PRODUCTION OF CUSTOMER SMART METER DATA

15                   12.1     Pursuant to California Public Utilities Commission Decision No. 11-07-056 and

16   related decisions, utility customer smart meter usage data may only be disclosed after providing

17   affected customers with seven days notice and an opportunity to object to such disclosure as required

18   by the Decision. Pursuant to Debtor Pacific Gas and Electric Company’s tariff Electric and Gas Rules

19   9.M and 27, confidential customer information is subject to similar prior notice requirements as

20   applicable to such customer information. To the extent Debtors produce customer smart meter usage

21   data subject to these rules and tariffs, Debtors shall provide affected customers with appropriate notice

22   prior to production and appropriate notification to the affected customers as required by the rules and

23   tariffs. Producing Party and Receiving Party shall comply with all federal and state privacy laws as

24   applicable to customer data under this Order.

25   13.     MISCELLANEOUS

26                   13.1     Right to Further Relief. Nothing in this Order abridges the right of any person to

27   seek its modification by the Court in the future, including as this Order applies to any particular

28   contested matter or adversary proceeding.




 Case: 19-30088             Doc# 8492              Page 28 Entered: 07/22/20 17:12:17
                                           Filed: 07/22/20                                            Page 29
                                                     of 34
                                                                                                             17


1                   13.2     Right to Assert Other Objections. Nothing in this Order waives any right by a
2    Party that it otherwise would have to object to disclosing or producing any information or item on any
3    ground not addressed in this Order. Similarly, no Party waives any right to object on any ground to use
4    in evidence of any of the material covered by this Order.
5                   13.3     Continuing Applicability Of Order. The provisions of this Order shall survive

6    the Debtors’ emergence from Bankruptcy for any retained Discovery Material. The Debtors’

7    emergence from Bankruptcy shall not relieve the Parties from their responsibility to maintain the

8    confidentiality of Discovery Material pursuant to this Order, and the Court shall retain jurisdiction to

9    enforce the terms of this Order.

10                  13.4     Amendment Of Order. This Order is subject to modification by this Court upon

11   good cause shown by any Party. Nothing herein shall preclude a Party from applying at any time

12   (including, without limitation, after the conclusion of these Chapter 11 proceedings) to the Court for

13   relief from (including, without limitation termination of) any or all of the provisions of this Order. The

14   Debtors and the Party seeking to modify or terminate the Order shall meet and confer in good faith to

15   reach an agreement on any issues in dispute concerning the meaning, application, or interpretation of

16   this Order prior to any application to the Court for resolution of such dispute. A Producing Party and a

17   Receiving Party may agree to modify this Order as it applies to a particular production or a particular

18   proceeding in the Cases with (7) business days prior notice to the Debtors.

19                  13.5     Use Of Discovery Material By Producing Party. Nothing in this Order affects the

20   right of any Producing Party to use or disclose its own Discovery Material in any way. Such disclosure

21   will not waive the protections of this Order and will not otherwise entitle other Parties or their

22   attorneys to use or disclose such Discovery Material in violation of this Order.

23                  13.6     Obligations Of Parties. Nothing herein shall relieve a Party of its obligations

24   under the Federal Rules, Bankruptcy Rules, Local Rules, or under any future stipulations and orders,

25   regarding the production of documents or the making of timely responses to Discovery Requests in

26   connection with any Dispute or the Chapter 11 Cases.

27                  13.7     Advice Of Counsel. Nothing herein shall prevent or otherwise restrict counsel

28   from rendering advice to their clients in connection with these Chapter 11 proceedings and, in the




 Case: 19-30088            Doc# 8492              Page 29 Entered: 07/22/20 17:12:17
                                          Filed: 07/22/20                                            Page 30
                                                    of 34
                                                                                                          18


1    course thereof, relying on examination of Protected Material; provided, however, that in rendering
2    such advice and otherwise communicating with such client, counsel shall not make specific disclosure
3    of any information in any manner that is inconsistent with the restrictions or procedures set forth
4    herein.
5                    13.8   Enforcement. The provisions of this Order constitute an Order of this Court and

6    violations of the provisions of this Order are subject to enforcement and the imposition of legal

7    sanctions in the same manner as any other Order of the Court.

8    14.       FINAL DISPOSITION

9              Within 90 days after the conclusion of the Debtors’ emergence from Bankruptcy, unless

10   otherwise ordered by the Court or described herein, each Receiving Party must return all Protected

11   Material, other than Protected Material intended for the Fire Victim Trust, to the Producing Party or

12   destroy such material. With respect to Discovery Material provided to the Fire Victim Trust, the Fire

13   Victim Trustee and Claims Administrator shall destroy or return Protected Material within 90 days of

14   the later of (a) the Claims Administrator notifying the Court that the Fire Victim Trust administration

15   process has concluded and (b) the Fire Victim Trustee notifying the Court that the investigation,

16   prosecution, and litigation of the Assigned Claims has concluded. As used in this subdivision, “all

17   Protected Material” includes all copies, abstracts, compilations, summaries, and any other format

18   reproducing or capturing any of the Protected Material. Whether the Protected Material is returned or

19   destroyed, the Receiving Party must submit a written certification to the Producing Party (and, if not

20   the same person or entity, to the Designating Party) by the 90 day deadline that (1) identifies (by

21   category, where appropriate) all the Protected Material that was returned or destroyed and (2) affirms

22   that the Receiving Party has not retained any copies, abstracts, compilations, summaries or any other

23   format reproducing or capturing any of the Protected Material. Notwithstanding this provision, Outside

24   Counsel are entitled to retain an archival copy of all pleadings, motion papers, trial, deposition, and

25   hearing transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert reports,

26   attorney work product, and consultant and expert work product, even if such materials contain

27   Protected Material. A Receiving Party’s obligations under this paragraph shall not require the

28   destruction or return of Confidential, Highly Confidential or Professional Eyes Only Material by




Case: 19-30088          Doc# 8492              Page 30 Entered: 07/22/20 17:12:17
                                       Filed: 07/22/20                                           Page 31
                                                 of 34
                                                                                                           19


1    Outside Counsel that is stored on backup storage or in archiving solutions made in accordance with
2    regular data backup procedures for disaster recovery or litigation hold, provided that Outside Counsel
3    maintains the confidentiality thereof in accordance with this Order. If a Receiving Party chooses to
4    take all commercially reasonable steps to destroy, rather than return, documents in accordance with
5    this paragraph, that Receiving Party shall, if requested by the Producing Party, verify such destruction

6    in writing to counsel for the Producing Party. Notwithstanding anything in this paragraph, to the extent
7    that the information in the Discovery Material remains confidential, the terms of this Order shall
8    remain binding.
9                                            **END OF ORDER**

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 Case: 19-30088         Doc# 8492                Page 31 Entered: 07/22/20 17:12:17
                                         Filed: 07/22/20                                           Page 32
                                                   of 34
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1                                                   EXHIBIT A

2                            ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

3             I,                                        [print or type full name], of                     [print

4    or type full address], declare under penalty of perjury that I have read in its entirety and understand the

5    Confidentiality and Protective Order that was issued by the United States Bankruptcy Court for the

6    Northern District of California on [date] in In re PG&E Corp., et al., CASE NO. 3:19-bk-30088 (the

7    “Order”). I agree to comply with and to be bound by all the terms of the Order and I understand and

8    acknowledge that failure to so comply could expose me to sanctions and punishment in the nature of

9    contempt. I solemnly promise that I will not disclose in any manner any information or item that is

10   subject to the Order to any person or entity except in strict compliance with the provisions of the

11   Order.

12            I further agree to submit to the jurisdiction of the United States Bankruptcy Court for the

13   Northern District of California for the purpose of enforcing the terms of this Confidentiality and

14   Protective Order, even if such enforcement proceedings occur after termination of this action.

15            I hereby appoint                                                      [print or type full name] of

16                                                       [print or type full address and telephone number] as

17   my California agent for service of process in connection with this action or any proceedings related to

18   enforcement of the Order.

19

20   Date:

21   City and State where sworn and signed:

22
23   Printed name:

24

25   Signature:

26   63819121 v1-WorkSiteUS-000002/3660


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Case: 19-30088             Doc# 8492              Page 32 Entered: 07/22/20 17:12:17
                                          Filed: 07/22/20                                            Page 33
                                                    of 34
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           Style name: Standard
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           Original filename: 2019.08.06 - Protective Order and Confidentiality
           Agreement_final.docx
           Modified filename: 7.16 Protective Order- Redline_Word_BR edits (7.20.20
           Version with Incremental Versions).DOCX
           Changes:
           Add                                                          11
           Delete                                                       1
           Move From                                                    0
           Move To                                                      0
           Table Insert                                                 0
           Table Delete                                                 0
           Table moves to                                               0
           Table moves from                                             0
           Embedded Graphics (Visio, ChemDraw, Images etc.)             0
           Embedded Excel                                               0
           Format changes                                               0
           Total Changes:                                               12




Case: 19-30088   Doc# 8492            Page 33 Entered: 07/22/20 17:12:17
                              Filed: 07/22/20                                 Page 34
                                        of 34
